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                                                                                     How Former Apple Music
                                                                                    Mastermind Larry Jackson
                                                                                    Signed Mariah Carey To His
                                                                                       $400 Million Startup




       When You Believe: "What Larry Jackson is building at Gamma,” Carey tells Forbes, “is beyond music."
       ETHAN GREENE




       By Jabari Young, Forbes Staff. Senior Writer                                                                  Follow Author

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       Gamma is releasing the 16th album by the Queen of Christmas.
       And with her new single, “Type Dangerous,” she’s coming for
       the Beatles’ throne.

       round midnight, the day after Halloween, Mariah Carey was sitting in the lavish
       Bel Air mansion of music producer Antonio “L.A.” Reid. The 56-year-old Carey may
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       A
                       be one of the top-selling recording artists of all-time—with five Grammy
                       awards and 19 number-one hits (the most by any solo artist)—but she still
                       solicits the opinion of Reid, a friend of more than 20 years, and the man
       who shaped the careers of Usher, TLC, Pink and other artists as the chairman of
       Epic, Arista, and Island Def Jam record labels. Also in the attendance was Larry
       Jackson, the 44-year-old CEO of the two-year-old music startup, Gamma.

       As Carey played tracks from her upcoming 16th album, Jackson, who has been in the
       business for more than 30 years, was awestruck by the moment. “Why am I in this
       room?” he recalls thinking. But as Carey told him, “I know who you are. I know what
       you've done. And I think you're the right person to take me to new heights.”

       With the midnight release of Carey’s new single, “Type Dangerous,” the ultimate
       challenge begins. Among the heights CareySubscribe:
                                                 wants toLess
                                                           reach is having a 20thSign
                                                              than $1.50/wk
                                                                                   number-
                                                                                      In
       one single—which would tie her with the Beatles—and then a 21st. It’s the music
       equivalent of LeBron James breaking Kareem Abdul-Jabbar’s NBA all-time scoring
       record. And Carey is counting on Jackson to put her on top of music’s Mount
       Olympus

       “I think that Larry might be downplaying his popularity,” Reid tells Forbes. “Mariah
       Carey knows who Larry Jackson is.”




       A founding member of Beats Music with Dr. Dre and producer Jimmy Iovine, and
       one of the masterminds behind Apple Music, Jackson started in the industry at 11, as
       an intern at KMEL radio station in San Francisco and became music director at 16.
       “It would be unthinkable today,” he says of the gig. “But these were more
       unregulated times.” Jackson soon began being mentored by Clive Davis, the


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       legendary founder and CEO of Arista Records, who launched the career of Whitney
       Houston, among many other artists.

       Throughout his career, Jackson produced the late Luther Vandross, once managed
       Kanye West and produced Houston’s last studio album. He eventually moved to
       Interscope records to work with Iovine, who later co-founded Beats with Dr. Dre. In
       2014, the company sold to Apple for more than $3 billion, which is how Jackson
       became the creative force behind Apple Music.

       “I didn’t graduate high school and didn’t go to college,” Jackson told Billboard about
       his career trajectory in 2023. “My university was working with Clive. Graduate school
       was working with Jimmy.”

       After seven years at Apple, Jackson did what few executives in Cupertino ever do—he
       left to start his own venture. He launched Gamma in 2023 with backing from
       billionaire Todd Boehly’s Eldridge Industries, the independent film studio A24, and
       Apple itself. Gamma soon acquired Vydia, the New Jersey-based digital distribution
       company that serves as its technology platform, signed deals with Usher and Rick
       Ross, and took a stake in the Death Row records archive, which Snoop Dogg
       purchased the previous year. Late last year, Gamma also partnered with Snoop and
       jewelry entrepreneur Carolyn Rafaelian, the founder of Metal Alchemist and Alex
       and Ani, to launch Snoop’s jewelry brand, Lovechild.

       “He’s as a straight shooter as it gets,” Boehly says of Jackson. “And he cares more
       about the artists and wants them to build their businesses and think differently about
       what the opportunities are, and not just go down the traditional [label] path. I see
       entrepreneurs backing entrepreneurs in a world that’s becoming more
       entrepreneurial. And you’ve got great artists like Snoop and Usher and now Mariah
       Carey coming to Larry because they're becoming more entrepreneurial.”




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       Solid Gold: One of Jackson's Gamma ventures is Lovechild, a new jewelry
       brand by Snoop Dogg.
       OLIVIA WONG/GETTY IMAGES



       “What Larry Jackson is building at Gamma,” Carey tells Forbes, “is beyond music.
       It's a cultural shift, and I'm excited to be part of something that honors legacy while
       pushing boundaries. This next chapter is about owning my narrative and creating
       freely on my own terms.”

       Adds Reid, who will executive-produce Carey’s album under his new company, Mega,
       “It is a game-changing moment because it's one of our premier stars who has made a
       decision to join forces with an independent, self-contained company that is not
       associated with any of the major labels. It’s a game changer for both Gamma and
       Mariah.”

       Jackson and Carey chose June, which is Black Music Month, to make their
       partnership official. The parties tell Forbes they agreed to a multi-album deal as she
       aims for music history.




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       “I don't have a crystal ball,” Reid says. “But my intuition tells me that this one works.
       She's fighting to stay contemporary. He's fighting to stay contemporary, to be
       contemporary. I think it's a win-win.”




       B
                     orn in San Francisco in 1980, Jackson is the son of a college instructor
                     and technology engineer. His father worked for years at publicly traded
                     Advanced Micro Devices (AMD) before meeting Jackson’s mom and
       becoming a professor. “I came from a very strong-rooted house,” says Jackson, says
       of his parents, who are still married after more than 50 years. “I learned what not to
       do more than what to do.”

       By eight, a young Larry fell in love with music by watching the Showtime at the
       Apollo on Saturday nights. The program fine-tuned Jackson’s ear for music, and by
       17 he had dropped out of high school to focus on his job as the music director of
       KMEL. The first station to fully embrace hip-hop and R&B culture on the West Coast,
       KMEL gave afternoon airplay time to the likes of MC Hammer, Tony! Toni! Toné!,
       Digital Underground, and E-40.

       “I remember seeing Green Day play [the] Bottom of the Hill [club] in San Francisco
       for 50 people before they blew up,” Jackson recalls. “These were all the things that I
       was exposed to very early on. These were all the people that came through the radio
       station that I saw.”

       In 2000, Jackson’s mentor at KMEL, Keith Naftaly joined Davis at the newly
       launched J Records after the duo’s ouster at Arista. Expanding their A&R staff, Davis
       called Jackson who was playing records at KMEL that turned into hits. “I took the
       meeting and came with a hit,” Jackson says. The song was Vandross’ Take You Out.
       “I got the job right on the spot.”

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       “I didn’t just come here by accident,” he continues. “You really don't understand the
       journey and the sacrifice and the hard work of how someone got to where they are.
       So, you realize when you hear someone's story that there are levels to this.”

       With a clear decline in the number of Black executives who shape music, following
       the deaths of towering figures like Quincy Jones and Clarence Avant, Jackson sees an
       opportunity for disruption with Gamma—much like how Berry Gordy changed music
       with Motown in the 1960s. (Gordy sold the groundbreaking label in 1988 for $61
       million, or about $167 million today.) “If you look around the [music] business in
       terms of leadership,” he says, “there's nobody who looks like me.”

       In many ways, Jackson’s career is coming full circle this week. On Wednesday, he
       was in New York to present Davis with a Lifetime Achievement award at the same
       Apollo Theater he once dreamed about as a kid. Back in his hotel room, he wants to
       enjoy the moment and also prepare for Carey’s single release.




       Music Men: Jackson presented his mentor, Clive Davis, with the Legacy
       Award at the Apollo Theater in Harlem this week.
       SHAHAR AZRAN/GETTY IMAGES



       The teaser video for “Type Dangerous,” Jackson says, had more than six million
       views, “and that's just between Instagram and X.” He sees that as a healthy sign there
       is pent-up demand for a new Carey album. Only this time, Gamma can control its
       own algorithm with the help of Apple to make sure Carey gets maximum exposure.
       “She’s been a part of the machine for her entire career,” he says.
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       “It's about unfinished business and it's about independence,” Jackson adds. “A lot of
       companies are really focused on frothy, viral, trendy, TikTok hits versus really
       understanding the art form of artist development and what it takes to work with a
       diva. And it takes having a different kind of master's degree or a PhD to really
       understand exactly how to guide a career of that particular nature at this particular
       time.”

       *This article has been updated to reflect the correct name of Eldridge Industries.




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